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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 23-CV-80282-ROSENBERG

   ROBERT SCOT BUILDING VENTURE
   LLC & RSBV PATHWAY LLC,

        Plaintiffs,

   v.

   CREATIVE WEALTH MEDIA FINANCE
   CORP. & JASON CLOTH,

        Defendants.
                                             /

    NOTICE OF FILING DEFENDANT JASON CLOTH’S LETTER INFORMING THE
               COURT THAT HE WILL BE ABSENT FROM TRIAL

             Plaintiff RSBV Pathway LLC hereby gives notice of filing a letter received from

   Defendant Jason Cloth on May 6, 2024, informing the Court that he will not attend the trial

   commencing in this action on May 7, 2024 at 8:30 AM.

  Dated: May 6, 2024                         Respectfully submitted,


                                             /s/ Shalia Sakona
                                             Scott N. Wagner
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                                             Shalia Sakona
                                             Fla. Bar No. 107398
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                                                Attorneys for Plaintiffs Robert Scot Building
                                                Venture LLC and RSBV Pathway LLC


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 6, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will send a Notice of Electronic Filing to all

  counsel of record that are registered with the Court’s CM/ECF system. I further certify that

  concurrently with this filing, I served a copy of this document via electronic mail upon Jason Cloth.


                                                            /s/ Shalia Sakona
